                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE

RON WASHINGTON,                                     )
                                                    )
                       Plaintiff,                   )     Case No. 3:19-cv-00154
                                                    )
v.                                                  )
                                                    )
EQUIFAX,                                            )
                                                    )
                       Defendant.                   )


              DEFENDANT EQUIFAX INFORMATION SERVICES LLC’S
              ANSWER AND DEFENSES TO PLAINTIFF’S COMPLAINT

         Defendant Equifax Information Services LLC (“EIS”), incorrectly identified as

“Equifax” in the Civil Summons (“Complaint”), files its Answer and Defenses to Plaintiff’s

Complaint as follows. (For the Court’s convenience, Plaintiff’s allegations are set forth

verbatim with EIS’s responses immediately following.)

                                              ANSWER

         1.    Violation of the Fair Credit Reporting Act 611 (a)(7) and Violation of the 609

Fair Credit Reporting Act.

         ANSWER: EIS admits that Plaintiff purports to bring a claim under the Fair Credit

Reporting Act, 15 U.S.C. § 1681 et seq. (“FCRA”). EIS denies that it violated the FCRA,

denies that Plaintiff was damaged by any action or inaction of EIS, and denies that Plaintiff

is entitled to any of the relief requested.

         2.    Suing for $25,000.

         ANSWER: EIS denies Plaintiff is entitled to that amount or any relief claimed in his

Complaint.



                                                1
     Case 3:19-cv-00154      Document 13       Filed 06/26/19   Page 1 of 4 PageID #: 109
                                           DEFENSES

       Without assuming the burden of proof where it otherwise rests with Plaintiff, EIS

pleads the following defenses to the Complaint:

                                       FIRST DEFENSE

       Plaintiff has failed to state a claim against EIS upon which relief may be granted.

                                     SECOND DEFENSE

       At all pertinent times, EIS maintained reasonable procedures to assure maximum

possible accuracy in its credit reports.

                                      THIRD DEFENSE

       Plaintiff’s damages, if any, were not caused by EIS, but by another person or entity

for whom or for which EIS is not responsible.

                                     FOURTH DEFENSE

       EIS has complied with the FCRA in its handling of Plaintiff’s credit file and is

entitled to each and every defense stated in the Act and any and all limitations of liability.

       EIS reserves the right to assert additional defenses that it learns through the course of

discovery.

       WHEREFORE, having fully answered or otherwise responded to the allegations in

Plaintiff’s Complaint, EIS prays that:

       (1)     Plaintiff’s Complaint be dismissed in its entirety and with prejudice, with all

costs taxed against Plaintiff;

       (2)     it be dismissed as a party to this action;

       (3)     it recover such other and additional relief as the Court deems just and

appropriate.


                                                2
  Case 3:19-cv-00154        Document 13        Filed 06/26/19     Page 2 of 4 PageID #: 110
    Respectfully submitted this 26th day of June 2019.

                                        EQUIFAX INFORMATION SERVICES LLC

                                        /s/Katy C. Laster
                                        Katy C. Laster (#026260)
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                                           3
Case 3:19-cv-00154      Document 13       Filed 06/26/19   Page 3 of 4 PageID #: 111
                               CERTIFICATE OF SERVICE

       I hereby certify that on the 26th day of June 2019, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, and served it via U.S. Mail to:

Ron Washington
1492 Mutual Dr.
Clarksville, TN 37042

                                           By: /s/Katy C. Laster
                                             Katy C. Laster




                                              4
  Case 3:19-cv-00154       Document 13       Filed 06/26/19     Page 4 of 4 PageID #: 112
